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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          *
                                                  *
                   vs.                            *        Case No. 1:21-cr-00028-APM-2
                                                  *
DONOVAN CROWL                                     *
         Defendant                                *
                                                  *

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                                              ORDER

       Upon consideration of the Consent Motion to Modify Conditions of Pretrial Release filed by

Donovan Crowl, good cause having been shown, it is this 23rd day of April, 2021, by the United

States District Court for the District of Columbia

       ORDERED:

       1.      That the Conditions of Pretrial Release are hereby MODIFIED to allow Mr. Crowl

to travel out of town from April 24, 2021 through May 3, 2021 to visit his mother at the hospital in

Missouri and reside with his brother in Illinois. With advance notice to Pretrial Services, Mr. Crowl

may stay at a hotel near the hospital, providing the name, address, phone number of the hotel.

       2.      Mr. Crowl shall report by telephone to Pretrial Services once a day. As soon as he

returns to Ohio, he shall notify his Pretrial Services Officer.

       3.      All other Conditions of Release shall remain in force.




                                                       HONORABLE AMIT P. MEHTA
                                                       United States District Judge
